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August 30, 2021

VIA ECF

Hon. Judge Philip M. Halpern
United States District Court
Southern District of New York
300 Quarropas St.

White Plains, NY 10601

Re: United States vs. Reid et. al, 20-CR-626-PMH-20

Dear Hon. Judge Halpern:
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I am the attorney for Donavan Gillard. My client is now making a bail application in the
above-mentioned matter. There has been no previous application made to this Court regarding
the issue of bail.

Mr. Gillard has been a resident of the State of New York all of his life. He has a GED,
some technical training, and a few certifications. He resides with his fiancé Melissa Maldonado
at 60 West 125" Street, Apt. #1001, New York, NY 10027. Prior to that they both resided at
2410 Frederick Douglas Blvd., Apt. 12E, New York, NY 10027 since May of 2017. Since being
released from prison in 2013 Mr. Gillard has been a productive and law-abiding citizen

Mr. Gillard is not a danger to community nor is he a flight risk. Mr. Gillard has had a
history with the criminal justice system, but since being released in 2013 he has managed to
leave that world behind. Since being released from prison in 2013 he has focused on working,
spending time with his daughter, Aziyah Gillard, and his fiancé Melissa Maldonado. He has
long-standing ties to the community, has strong family ties in the community, has a number of
third-party custodians in support of his pre-trial release (including Kyle Reynolds, Melissa
Maldonado, Thomas Gillard, and David Alvarado). All the individual sureties (whose contact
information can be made available for vetting upon request from Pre-Trial Services and the
Government), specific assets they are prepared to post, and background information about them
are prepared to either pledge assets and/or sign a bond for Mr. Gillard’s release. Mr. Gillard is
willing to be placed under third-party custody, to be placed on house arrest with electronic
monitoring, and is willing to undergo drug counseling and testing.

These conditions alleviate any concern that Mr. Gillard is a flight risk or danger to the
community at large and we request at this time that Mr. Gillard is granted pre-trial release. We
would request a date to appear before the Court.
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Derrick Magwood__

Cé: AUSA((via ECF)

 

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